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                         EASTERN DISTRICT OF KENTUCKY
                               LONDON DIVISION

                                    Electronically.filed

DAVID WILSON, as Administrator                  )
of the Estate of Lisa Nob le,                   )
Deceased,                                       )
               Plaintiff                        )
                                                )      Civil Action No. 6:17-CV-157-KKC
v.                                              )
                                                )
BEACON TRANSPORT, LLC,                          )
and TERRAN COOPER,                              )
          Defendants                            )




 AGREED PROTECTIVE ORDER RE: ELECTRONIC DISCOVERY


       The parties having reached an agreement regarding treatment of certain electronic

discovery materials to be produced in this matter and the Court being sufficiently advised;

       IT IS HEREBY ORDERED that this Agreed Protective Order Regarding Electronic

Discovery (hereinafter the "Order") be entered as follows:

       1.     Based on the nature of this litigation, certain electronic records relating to

the Defendant, Terran Cooper's electronic devices are discoverable under the Rules of

Civil Procedure and may include confidential or privileged records, documents,

photographs, call data, messaging data, sms data, transmission data, location data, video,

and any other data or other information stored on the device (hereinafter "Protected

Records").

       2.     Until further orders of the Court, any Protected Records identified below

and the information contained therein shall be released only in accordance v,,jth to the

terms of this Order.


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        3.        Plaintiff will not use the Protected Records for purposes other than this

litigation without prior written agreement of the Defendant, Terran Cooper, his counsel,

or further Order of the Court.

        4.        The Protected Records may include confidential communications between

the Defendant and others. They may include photographs, video, and other electronic

data.

        5.        Additionally,   the     Protected   Records       may include      attorney-client

communications that this Order protects from disclosure to counsel for Plaintiff.

        6.        The parties agree that Stidham Reconstruction & Investigations, LLC

("SRI") will perform electronic searches of any and all smart phones, cell phones or other

communication devices utilized by Terran Cooper.

        7.        SRI shall take reasonable steps in an attempt to avoid download of attorney

client communications, which may include scanned documents, emails or text messages

between Mr. Cooper and his attorney, Harlan Judd or Mr. Judd's office. To do so, to the

extent possible with the available technology, the search performed shall exclude

communications          from      email     addresses:        harlanjuddlaw(mgmail.com          and

juddlawsecretarv@gmail.com, and _____1v_,.(_'               A~-----' and with respect to
texting,     to   the   following    phone     numbers      shall    be   excluded   from    search

___.:...rv-=--i{-'-l,__)___ _ ____N-=-</~A-'-'----- being the numbers of legal counsel
Harlan Judd to Mr. Cooper or staff for Mr. Judd.

        8.        With regard to searches, the terms for relevant material shall be limited to

the names, nicknames, and cell phone numbers of Mr. Cooper, any data of any type

captured on the device between 12/26/16 and 1/6/17 of any kind, subject to the forgoing

exclusions from search relating to communications subject to attorney-client privilege.



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       9.     The searches shall be conducted at the business premises of Timothy D.

Lange, Benson, Risch & Lange PLLC, 401 W. Main Street, Suite 2150, Louisville, Kentucky

40202. The Defendant or his representative may be present during the inspection but

shall not interfere. The search shall commence at 1:oopm on February 19, 2018.

       10.    By his signature on this Agreed Order, Jason Woods, Individually and on

behalf of Stidham Reconstruction & Investigations, LLC, agrees to be bound by the terms

of this order and submits to the jurisdiction of this Court for purposes of enforcement.

       11.    In further effort to protect against the disclosure of attorney-client or other

privileged information, following SRI's search and download, SRI shall advise the counsel

for the parties that its download is complete. At that time it shall provide the Defendants

with a complete copy of the materials downloaded for review relating to objections to be

made as to the release of such materials to counsel for the Plaintiffs. Defendants shall

have ten (10) days from this advisement in which to designate records as "Protected

Records - Subject to Privilege Against Production" and to produce an appropriate

privilege log setting forth the identification of the document/ data in issue, the specific

objection asserted to its production, and describe the nature of the documents,

communications, or tangible things not produced or disclosed - doing so in a manner

that, without revealing information itself privileged or protected, will enable other parties

and the Court to assess the claim (See FRCP 26(b)(5).

       12.     Any items that are the subject of objection to production based upon a

claim of privilege and addressed in the privilege log shall not be released to the Plaintiff

until the parties have either reached an agreement for such release or the Court has

entered an order permitting such disclosure.

       13.    Any restriction on the disclosure of Protected Records applies to the

information that may be gleaned from those materials.

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       14.    Protected Records may be disclosed to the Parties' legal counsel, expert

consultants and witnesses, and to other attorneys practicing in the same law firm with

said legal counsel, as well as their paralegals, stenographic and clerical employees

associated with them. Except as provided herein, Protected Records shall not be disclosed

to any other persons, except with the prior written consent of Terran Cooper or his

counsel.

       15.    Prior to such disclosure of Protected Records to a third party, the disclosing

party shall be furnished with a copy of this Order and shall agree in writing to be bound

by this Order and to submit to the jurisdiction of this Court for purposes of enforcement.

       16.    Upon final determination of this action, including appeals, all Parties, legal

counsel, and persons to whom any Protected Records were disclosed or provided shall

upon request return all such Protected Records to counsel for the Defendants.

       17.    Neither the taking of any action in accordance vvith the provisions of this

Order, nor the failure to object thereto, shall be construed as a waiver of any claim or

defense in this action.

       18.    This Order shall not prevent any of the Parties from applying to the Court

for relief therefrom, or from applying to the Court for further or additional protective

orders, or from agreeing among themselves to modification of this Order, subject to the

approval of the Court.

       19.    The Parties and any other person subject to the terms of this Order agree

that this Court shall have and shall retain after this action is terminated jurisdiction over

it and them for the purpose of enforcing this Order.

       20.    All persons who sign any writing acknowledging the existence of the

protective order and/ or who receive protected information as set forth in this order,



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           20th         February
